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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  Eastern Division

In re:                                        )       Case No.: 13-06829
                                              )
CHRISTAL TOLBERT,                             )       Chapter 7
                                              )
                Debtors.                      )       Judge: Honorable LaShonda Hunt
                                              )
                                              )
Christal Tolbert,                             )       Adv. Proc. No.: 21-00017
                                              )
                Plaintiffs,                   )
v.                                            )
                                              )
CHRISTAL TOLBERT,                             )
                                              )
                Defendant.                    )
                                              )


                                 NAVIENT SOLUTIONS, LLC’S
                              ANSWER TO AMENDED COMPLAINT

         Navient Solutions, LLC (“Navient”), on behalf of itself and named defendant, “Navient”,

by and through its undersigned counsel, hereby provides its Answer to the allegations of

Plaintiff, Christal Tolbert (“Plaintiff”)’s, Amended Complaint (“Complaint”), and states as

follows:


Department of Education Direct Student Loans

         Navient is a servicer of certain United States Department of Education (“DOE”) Direct

Consolidation Loans and Stafford Student Loans, on which the Plaintiff is liable (“DOE Loans”).

The DOE Loans are held by the DOE, and Navient is a servicer of the DOE Loans on behalf of

the DOE. Navient has no interest in the DOE Loans except as a servicer. Navient has no

authority to litigate the discharge of the Plaintiff’s DOE Loans.
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Navient Loan

       In addition to its role as servicer of the DOE Loans, Navient is also a holder of one (1)

educational MBA Loan on which the Plaintiff is liable (“Navient Loan”), with a balance totaling

approximately $5,210.78, as of the date of the filing of Plaintiff’s Complaint. Navient is willing

to agree to discharge the Plaintiff’s liability on the Navient Loan.


Navient’ Strategy

       Navient has no authority to litigate the discharge of the DOE loans. Navient will agree to

discharge the Navient Loan. The DOE will not recognize any judgment against Navient as

effective upon the DOE Loans. It is not clear to Navient whether the Plaintiff understands

Navient’s relationship to the DOE Loans, but Navient does not intend to litigate / defend the

dischargeability of any debt in this adversary proceeding. In the event that Navient is unable to

obtain the agreement of the Plaintiff to discharge of the Navient Loan, in exchange for dismissal

of Navient as a defendant in this matter, Navient will likely file a Motion for this relief.



Navient’s Answer to the Allegations in the Plaintiff’s Complaint


                              Procedural Background and Jurisdiction

       1.      The Debtor commenced this Chapter 7 case January 9, 2013.

       Answer: Denied. On information and belief, Plaintiff’s main bankruptcy case was

commenced by the filing of a voluntary Chapter 7 petition on February 22, 2013.

       2.      The case was discharged on May 29, 2019. The discharge order was in the

Court’s standard form and did not discharge the Debtor of student loan debts.

       Answer: Admitted.
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        3.       On October 29, 2020, the Debtor moved to reopen her bankruptcy case for the

purpose of filing an adversary against Navient to determine the discharge ability of certain

student loans.

        Answer: Admitted.

        4.       The Debtor’s pro se adversary compliant was docketed as of October 29, 2020.

The pro se complaint identified Navient as the defendant.

        Answer: Denied. On information and belief, Plaintiff’s Complaint was filed on January

26, 2021.

        5.       The pro se complaint challenged the amount of student loan debt asserted by the

Defendant and asserted that the student debt was dischargeable because it placed an undue

hardship of the Debtor.

        Answer: The Plaintiff’s Complaint is on file with the court and speaks for itself.

        6.       The Defendant has not filed an answer to the pro se complaint as of 1/24/2021

since the complaint was mailed same day via certified mail.

        Answer: It is admitted only that this Answer is Navient’s first Answer to the Plaintiff’s

Complaint or Amended Complaint and is date stamped by the court’s ECF system as of the date

of filing.

        7.       The court has jurisdiction over this matter under 28 U.S.C. 1334(b) as this case

concerns matters that arise under 11 U.S.C. 502(b) (allowance of claims) and 523(8) (discharge

of student loan debt).

        Answer: It is admitted only that this court has jurisdiction over the issue of

dischargeability of debt under 11 U.S.C. §523(a)(8). By way of further response, the Plaintiff’s
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main bankruptcy case was discharged and closed as a ‘no asset’ case, and therefore, allowance of

claims is not an issue in this matter.


                                         Background and Facts

       8.      The Debtor attended Northern Illinois University from 1994-1998, she received

her Bachelor’s degree in 1998. The Debtor attended Keller Graduate School and University of

Phoenix 2002 to 2005 where she received her Master’s Degree. The Debtor attempted to pursue

her doctoral degree at Walden university from 2011 to 2013 but was unsuccessful.

       Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.

       9.      While a student at the above schools the Debtor received several loans to cover

tuition and other expenses including living expenses. The Debtor received the following loans:

       Northern Illinois and Keller University   $27,952 (unsubsidized and subsidized loans)
       1994-1993

       University of Phoenix                     $37,000 (unsubsidized and subsidized loans)
       2003-2005

       Walden and Trident University             $67,644 (unsubsidized and subsidized loans)
       2011-2016

       Above Loans consolidated 9/29/2017               $132,596.00
       Consolidation Amount Due as of 1/21/21           $285,355

       *Private Navient School Loan              Original Loan Balance $5000
        Not Consolidated 2/2006                  Current Loan Balance $5303


       Answer: It is admitted only that Navient is a servicer of certain DOE Consolidation

Loans, disbursed in September 2017, as well as Stafford Student Loans disbursed at various

times in 2019, and is also a holder of one MBA Loan, originally disbursed in July 2004.
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        10.    From 2000 to 2019, the Debtor attempted to make payments on the above loans.

However because of missed payments due to illness, lack of income, gap in employment and the

compounding interest that accrued greater than seven percent, by 2021 the balance under the

loans exceeded the original amounts borrowed.

        Answer: It is admitted only that Navient is a servicer of certain DOE Consolidation

Loans, disbursed in September 2017, as well as Stafford Student Loans disbursed at various

times in 2019, and is also a holder of one MBA Loan, originally disbursed in July 2004. It is

also admitted that the combined balance of the DOE Loans is in excess of that originally

disbursed.

        11.    On 9/29/2017 the above loans were consolidated into a single loan growing from

the original loans amount of $128,000 currently as of January 2021 to $285,355.

        Answer: It is admitted only that Navient is a servicer of certain DOE Consolidation

Loans, disbursed in September 2017, as well as Stafford Student Loans disbursed at various

times in 2019, and is also a holder of one MBA Loan, originally disbursed in July 2004. It is

also admitted that the combined principal balance of the DOE Loans is approximately

$266,586.72, not including as yet uncapitalized accrued interest.

        12.    From 2017 to present the Debtor attempted to make payments under the

consolidation loan. However, during this period the debtor was not able to make scheduled loans

payments, requested the loans to be placed in forbearance which resulted in continued accrued

interest.

        Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.
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        13.    The Debtors inability to make loan payment was in part caused a divorce in 2013

due to Domestic Abuse which resulted in her becoming a single mom of two which caused and

continue to a financial strain. Prior to the divorce she was a stay at home Mom who did not

work.

        Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.

        14.    The Debtor suffers from hereditary mental illness that occasionally manifest itself

as extreme anxiousness, depression and blackouts. Because of this illness, the Debtor requires

frequent medical attention, incurs large uninsured medical expense and has been hospitalized.

        Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.

        15.    The Debtor illness has not prevented her from working full time in the education

sales field but unfortunately has caused her not to have job stability having worked a total of 13

jobs between 2010-2019 and having been laid off or fired due to excessive absences due to

blackouts and/or episodes of depression. The most recent layoff happening in September of

2020. The illness does prevent Debtor from expanding her work load or responsibilities in a way

that might materially increase her pay. It also prevents her from holding a second job. The

Debtor also expects that her illness will prevent her from working consistently full time much

beyond her 60th birthday (the Debtor is presently 44).
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       Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.

       16.     In addition to the multiple jobs described above, the Debtor’s illness has caused

her to experience gaps in employment in the 16 years since she graduated from Northern Illinois

University. During these gaps, some of which occurred at a time when the Debtor was the single

parent of two children living at home who was dependent on the Debtor for support, the Debtor

missed payments on her student loans.

       Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.

       17.     By 2020, the balance owed under the consolidated loan, exceeded $280,000,

nearly two times the original amount of the loans.

       Answer: It is admitted only that Navient is a servicer of certain DOE Consolidation

Loans, disbursed in September 2017, as well as Stafford Student Loans disbursed at various

times in 2019, and is also a holder of one MBA Loan, originally disbursed in July 2004. It is

also admitted that the combined principal balance of the DOE Loans is approximately

$266,586.72, not including as yet uncapitalized accrued interest.

       18.     In an addition, the repayment of the loan would place an undue burden on the

Debtor. The loans are currently in forbearance status due to the National Emergency

Forbearance Covid Pandemic and is income driven. The monthly loan payments would normally

be in excess of $1000 if not due to the forbearance and accruing interest as it has been prior to

the pandemic. The Debtor fears that once the Covid Student Loans restrictions are lifted, the
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monthly payment will be unaffordable and continue to accrue interest to an amount that makes it

harder to paydown. The debtor is also concerned that due to high unemployment rates at this

time due to Covid and her unstable job history and illness it will be difficult for her to find stable

consistent employment.

       Answer: It is admitted only that the DOE Loans are in a forbearance ordered by the U.S.

government as a result of the Covid pandemic.

       19.      The Debtor has no savings and no retirement account, as set forth below, lacks the

income to save money for retirement. The Debtor does not own a home or a business. Other

than current unemployment, the Debtor is likely to have no income upon retirement.

       Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.

       20.      The Debtor presently receives unemployment of $1952 (with a recent additional

unemployment temporary government Covid increase of $1200) which is due to end on

September 2021 and child support of $700 for a total monthly income of $3852.

       The Debtor’s net pay is entirely consumed by the following expenses:

       •     Rent of $1,821 a month (includes trash and sewer cost)

       •     Utilities and telephone of $300 a month

       •     Uninsured medical expenses of the Debtor and her daughters that average $500 a

             month

       •     Life insurance $57.00

       •     Automobile monthly payment, insurance, maintenance and gas of $601 a month

       •     Credit Card Debt $380 a month
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        •      Food, clothing, sundry home and personal care expenses that average $200

        •      Miscellaneous of $140 a month (including support for college daughter).

        Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.

        21.       Based on the foregoing, the Debtor lacks the resources to service her student loan

in the amount requested by the Defendant.

        Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.


                                               COUNT 1

        22.       The Debtor re-incorporates allegations 1 through 21 above.

        Answer: No response.

        23.       On information and belief, the amount claimed by the Defendant as owed by the

Debtor for her student loans has doubled causing the loan amount to be difficult to pay and

continue to accrue interest. The Debtor asks for an accounting of the amount allegedly owed,

showing the month-to-month application of accrued interest.

        Answer: This paragraph of Plaintiff’s Complaint is a request for relief, to which no answer

is required.

        24.       In addition, not all of the proceeds of the loans received by the Debtor were for

direct educational purposes. Some of the proceeds were used to pay living expenses incurred at

the time the Debtor was a student.
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         Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.

                                            COUNT II

         25.    The Debtor re-incorporates allegations 1 through 24 above.

         Answer: No response.

         26.    Repayment of the Debtor’s student loans, in the amount claimed by the Defendant

or anywhere near that amount, would prevent the Debtor from maintaining a minimal standard of

living. At seven percent interest, monthly payments of about $1000 would be required over the

next 20 years (through the Debtor’s expected work life). That level of payments would require a

Significant reduction of current living expenses and would preclude the Debtor from saving for

Retirement.

         Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.

         27.    The Debtor’s inability to pay the loan in the amount demanded by the Defendant

is likely to persist. Because of her illness, the Debtor is unable to commit the time and energy

necessary to advance in her profession, or to take a second job. Moreover, the Debtor does not

have enough career years left to warrant an investment of time or money in a more lucrative

field.

         Answer: Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within this paragraph of Plaintiff’s Complaint, and in an

abundance of caution, denies same.
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Affirmative Defenses

        Ineffective service of process upon the defendant.


        WHEREFORE, Navient Solutions, LLC respectfully requests judgment in its favor and

against Plaintiff and such other relief as is just and equitable.




                                                Respectfully submitted,

                                                  /s/ Christopher H. Purcell
                                                Christopher H. Purcell ARDC #6244763
                                                SHERMAN & PURCELL, LTD.
                                                112 Cary Street
                                                Cary, IL 60013
                                                Telephone: (312) 372-1487
                                                Facsimile: (312) 372-9697
                                                Email: shermlaw13@aol.com
                                                Attorneys for Navient Solutions, LLC
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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 Eastern Division

In re:                                        )      Case No.: 13-06829
                                              )
CHRISTAL TOLBERT,                             )      Chapter 7
                                              )
               Debtors.                       )      Honorable LaShonda Hunt
                                              )
                                              )
Christal Tolbert,                             )      Adv. Proc. No.: 21-00017
                                              )
               Plaintiffs,                    )
v.                                            )
                                              )
CHRISTAL TOLBERT,                             )
                                              )
               Defendant.                     )
                                              )

                                 CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that I am more than 18 years of age and not a party
to the matter concerning which service was accomplished. I further certify that on the 7th day
of April 2021, I served by first class United States mail, postage prepaid, a true and correct copy
of Navient Solutions, LLC’s Answer to Complaint, upon the following persons:

Christal Tolbert
Post Office Box 9120
Naperville, IL 60567


                                                /s/ Christopher H. Purcell
                                              Christopher H. Purcell ARDC #6244763
                                              SHERMAN & PURCELL, LTD.
                                              112 Cary Street
                                              Cary, IL 60013
                                              Telephone: (312) 372-1487
                                              Facsimile: (312) 372-9697
                                              Email: shermlaw13@aol.com
                                              Attorneys for Navient Solutions, LLC
